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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:05CR406
                     Plaintiff,                     )
                                                    )
       vs.                                          )              ORDER
                                                    )
LUISANA MIRANDA,                                    )
                                                    )
                     Defendant.                     )


       This matter is before the Court on the motion of defendant Luisana Miranda (Miranda)
for an extension of time in which to file pretrial motions (Filing No. 18). The motion does not
comply with NECrimR 12.3 which provides, in part:
              Absent good cause shown, a motion for an extension of time to
              file pretrial motions must be made within the time set for the filing
              of motions. Motions for extensions of time to file pretrial motions
              will be granted only upon a showing of good cause. If the
              defendant is a moving party, the motion for an extension of time
              to file pretrial motions shall be accompanied by the defendant’s
              affidavit or declaration (see 28 U.S.C. § 1746) stating that
              defendant:
                       (1)     Has been advised by counsel of the
                               reasons for seeking a continuance;
                       (2)     Understands that the time sought by the
                               extension may be excluded from any
                               calculation of time under the Speedy Trial
                               Act, 18 U.S.C. § 3161 et seq.;
                       (3)     With this understanding and knowledge,
                               agrees to the filing of the motion; and
                       (4)     Waives the right to a speedy trial.
The motion:
       ( )    Is filed out of time without a showing of good cause.
       ( )     Does not contain a showing of good cause for an extension of time;
       (X)    Is not accompanied by the defendant’s affidavit or declaration stating the
              requirements of (1) _X_, (2) _X_, (3) _X_, or (4) _X_ above.
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Accordingly, the motion (Filing No. 18) will be held in abeyance until December 21, 2005,
and if the deficiencies noted above have not been corrected, the motion will be denied.
       IT IS SO ORDERED.
       DATED this 15th day of December, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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